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                      IN TH E UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT O F FLORIDA

                                 CaseNo.11-cv-23373-KM M

 GEM A GARCIA,

        Plaintiff,

 VS.

 CARNIVAL CORP.,

        Defendant.
                                                   /

         O RD ER D ENY IN G PL AINTIFF'S M O TIO N FO R R EC O N SID EM TIO N

        THIS CAUSE camebeforethe Courtupon PlaintiffsM otion forReconsideration (ECF
 No.39). PlaintiffmotionsthisCourtto reconsiderits March 7,2012 OrderGranting In PM
 Defendant's M otion to Dismiss. UPON CON SIDERATION of the M otion, the pertinent

 portions ofthe record,and being otherwise fully advised in the premises,thisCourtentersthe

 following Order.

 L LEG AL STA ND AR D

        The applicable stnndard for a motion for reconsideration is thatthe m oving party must

 dem onstrate why the courtshould reconsider itsprior decision and setforth facts orlaw of a

 strongly convincing nature to induce the court to reverse its prior decision.A motion for

 reconsideration should raise new issues,notmerely address issueslitigated previously.Socialist

 W orkers Partv v.Leahy,957 F.Supp. 1262,1263 (S.D.Fla.1997)(internalquotation and
 citationsomitled). Courtshavedistilled threemajorgroundsjustifying reconsideration:(1)an
 interveningchangein controlling law;(2)theavailabilityofnew evidence;and (3)theneedto
 correctclearerrorormanifestinjustice.Coverv.W al-M artStores.lnc.,148 F.R.D.294,295
 (M .D.Fla.1993)(citationsomitted).
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 II.ANALYSIS

        PlaintiffmotionsthisCourtto reconsideritsruling dismissing with prejudice Plaintiffs
 Negligenceand NegligentIntliction ofEmotionalDistressclaim s. First,Plaintiffarguesthatthis

 Courtincorrectly found that Plaintiffs Negligence claim contained only allegationsrelating to

 intentionaltorts. Asthis Courtrecognized,''CountIof Garcia's Complaintalleges Defendant

 was negligentfor essentially two reasons:(1)Defendantcommitted intentionaltorts against
 Garcia...and (2)Defendantfailed to preventintentionaltortsagainstGarcim'' M arch 7,2012
 Order,at3 (ECF No.35). Contrary to Plaintiffsmssertion,thisCourtclearly recognized that
 Plaintiff alleged other grounds for Defendant's negligence. This Court,however,found that

 regardlessofPlaintiffspleading,any ççnegligence''Plaintiffalleged on behalfofDefendantw as

 improperbecause,asthisCourtexplained:

        (Bqecause the Defendant's employees are alleged to have committed the
        intentionaltorts atissue,as a comm on-canier,Defendantis strictly liable. See
        Doev.Celebrity Cruises,Inc.,394 F.3d 891,915-16 (11th Cir.2004)CçFlorida
        tortlaw imposesstrictliability on cruise lines forcrew mem berassaults on their
        pmssengers (andj that as to this issue Florida law is consistent with federal
        maritimetort1aw.'').Consequently,Defendantcannotbefoundnegligently liable
        forthe comm ission ofthe same intentionaltortfor which Defendantis strictly
        liable. To hold otherwise in this instance would eviscerate any distinction
        between tort liability premised on negligence and tort liability premised on
        intentionaltortiousactivity.

 M arch 7,2012 Order,at4. Plaintiffhasnothighlighted any new evidence ordirected thisCourt

 to any intervening change in controlling law. Consequently,thisCourtdeclinesto reconsiderits

 rulingdismissingwithprejudicePlaintiffsnegligenceclaim.
        PlaintiffnextarguesthatthisCourtshouldreconsideritsnzlingdismissingwithprejudice
 Plaintiffsclaim forNegligentlnfliction ofEmotionalDistress(t<NlED'').ThisCourtdismissed
 with prejudicePlaintiffsclaim forNIED forthe snmereasonsitdismissed Plaintiffsclaim for
 Negligence,and withouttmderlying negligence,therecan be no negligentinfliction ofem otional
                                             2
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 distress.l As Plaintiff has not raised any of the
                                                          three major grounds for justifying
 reconsideration,thisCourtdeclinesto reconsideritsruling dismissing with prejudicePlaintiffs
 NIED claim.

 111.CONCLUSION

       Fortheforegoing reasons,itis

       ORDERED AND ADJUDGED thatPlaintiffsM otion forReconsideration(ECF No.39)
 isDENIED.Itisfurther

       ORDERED AND ADJUDGED thatin lightofthisCourt'sM arch 7, 2012 Ordergranting

 Plaintiffleaveto tile an AmendedComplaint,PlaintiffsMotion forLeaveto Amend (ECF No.
 27)isDENIED ASM OOT.
       DONEANDORDEREDinChambersatMiami,Florida,thiuWtdayofMarch,2012.

                                                               .#


                                                    . M I
                                                        CHAEL M OORE
                                                   UNITED STATES DISTRICT JUDGE

cc:    Allcotmselofrecord




1 ln the insfnntcase, aclaim forthe intentionalinfliction ofemotionaldistressC&     11ED'')isthe
propercause ofaction. This Court,however,found as a m atteroflaw thatPlaintiffs claims
w ere insufficiently tçoutrageous''to state a claim forIIED . M arch 7,2012 Order,at7-8.
                                                   3
